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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


United States of America
ex rel. Rayme M. Edler, M.D.
       Plaintiffs,
v.                                          Case 3:20-cv-05503-RV-HTC

Escambia County
     Defendant.

_____________________________/


  CONSENT MOTION FOR HIPAA QUALIFIED PROTECTIVE ORDER



      Documents relevant to this case include protected health information

covered by the Privacy Regulations issued under the Health Insurance Portability

and Accountability Act of 1996 (“HIPAA”).

      To facilitate discovery, and in accordance with 45 C.F.R. § 164.512(e)(v),

Relator Dr. Edler, with the consent of Defendant Escambia County, requests that

the Court enter the attached proposed HIPAA Qualified Protective Order.




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                                       Respectfully submitted,

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                           LR 7.1 (F) Certificate of Word Count
      I certify the LR 7.1 (F) word count of 59 words, and I relied on MS Word’s
count for this certification.
                                       /s/ Jonathan Kroner

                                  Certificate of Service
      I certify I electronically filed the foregoing document with the Clerk of
Court using CM/ECF on the date stamped above to be served on all counsel of
record.
                                       /s/ Jonathan Kroner



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